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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

TINA MICHELLE BRAUNSTEIN, ! Civil Case No. 1:16-cv-08879 (VSB)

Plaintiff,
(Electronically Filed Document)
-against-
NOTICE OF MOTION
SAHARA PLAZA, LLC and THE PLAZA | FOR SUMMARY JUDGMENT
HOTEL, a FAIRMONT MANAGED HOTEL, |

Defendants.

 

PLEASE TAKE NOTICE that upon the Declaration of David I. Rosen, Esq. and the
exhibits annexed thereto, the Affidavit of Karen Wenger and the exhibits annexed thereto,
Defendants' Local Civil Rule 56.1 Statement of Undisputed Facts, the accompanying
Memorandum of Law, and all of the pleadings and proceedings heretofore had herein,
Defendants will move this Court, before the Hon. Vernon S. Broderick, at the United States
District Courthouse located at 40 Foley Square, Rm. 518, New York, NY, on such date and at
such time as the Court may designate, for an Order, pursuant to Rule 56 of the Federal Rules of
Civil Procedure, granting summary judgment in Defendants’ favor and dismissing the complaint
in the above-captioned action with prejudice, because there are no material issues of fact in
dispute, and Defendants are entitled to judgment as a matter of law, and further, granting to
Defendants' their costs, including attorneys' fees, and such other and further relief as the Court

may deem just and proper.
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PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s Order dated
February 14, 2018, Plaintiff must file her opposition to the motion, if any, on or before May 4,

2018.

Dated: New York, New York
March 14, 2018

SILLS CUMMIS & GROSS P.C.

101 Park Avenue, 28" Floor

New York, NY 10178
Attorneys for Defendants Sahara Plaza,
LLC and Fairmont Hotels & Resorts
(Maryland) L.

 
 

 

DAVID I. ROSEN, ESQ. me
